Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 1 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 2 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 3 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 4 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 5 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 6 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 7 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 8 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 9 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 10 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 11 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 12 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 13 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 14 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 15 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 16 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 17 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 18 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 19 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 20 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 21 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 22 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 23 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 24 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 25 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 26 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 27 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 28 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 29 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 30 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 31 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 32 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 33 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 34 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 35 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 36 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 37 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 38 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 39 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 40 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 41 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 42 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 43 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 44 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 45 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 46 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 47 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 48 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 49 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 50 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 51 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 52 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 53 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 54 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 55 of 62
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 56 of 62




                             Abouni, Rumiana
                             821 Nordhal Rd. # A
                             San Marcos, CA 92069

                             Adame Vega, Antonio
                             2505 Corbel Way
                             San Marcos, CA 92078

                             Alecio Lopez, Ernesto

                             919 Wellpott Place
                             Vista, CA 92084

                             Ally Bank
                             P.O. Box 9001948
                             Louisville, KY 40290

                             Alvarez, Oscar
                             1838 Thibodo Rd. # 104
                             Vista, CA 92081

                             Awe, Alicia
                             2092 Ridgeline Ave.
                             Vista, CA 92081

                             Becerra, Rene
                             1532 Montiel Rd.
                             Escondido, CA 92026

                             Cadena, Armando
                             820 Sycamore Ave. # 159
                             Vista, CA 92081

                             Carrine, Christopher
                             345 W. El Norte Parkway # 212
                             Escondido, CA 92026

                             Castro, Jose
                             802 N. Olander Pl.
                             Escondido, CA 92027
Case 21-01804-CL11   Filed 04/30/21    Entered 04/30/21 16:08:53       Doc 1   Pg. 57 of 62




                             Davis, Pickren, Seydel & Sneed
                             Attn: J. Bradford Simpson
                             285 Peachtree Center Ave. NE, Ste. 2300
                             Atlanta, GA 30303

                             Diaz, John
                             965 W. Lincoln Ave. # C23
                             Escondido, CA 92026

                             Elder, Brandon
                             12817 Julian Ave.
                             Lakeside, CA 92040

                             Enriquez, Louis
                             635 Onley Dr.
                             Vista, CA 92083

                             Espinoza, Nelda
                             1638 Calavo Road #1
                             Fallbrook, CA 92028

                             F. Flores, et al/all similarly situated
                             c/o Patrick Nellies, Esq.
                             5820 Oberlin Drive #110
                             San, Diego, CA 92121

                             First Citizens Bank
                             360 West Grand Ave.
                             Escondido, CA 92025

                             First Citizens Bank & Trust Co.
                             Attn: SBA Loan Operations
                             100 E. Tryon Road, DAC 90
                             Raleigh, NC 27603

                             First Citizens Bank & Trust Co.
                             Attn: DAC 36
                             P.O. Box 25187
                             Raleigh, NC 27611
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 58 of 62




                             Fraga, Diana
                             1826 Loreto Glen
                             Escondido, CA 92027

                             Gabriel, Tyler
                             1283 Avenida Fragata
                             San Marcos, CA 92069

                             Garza, Ricardo
                             723 N Midway Street
                             Escondido, CA 92027

                             Genmyk, Llc
                             130 Valle De Oro
                             San Marcos, CA 92069

                             Gomez, Cesareo
                             375 La Mesa Ave.
                             Encinitas, CA 92024

                             Gomez, Gloria
                             375 La Mesa Ave.
                             Encinitas, CA 92024

                             Goretti, Cynthia
                             1715 Manchester Place
                             Escondido, CA 92027

                             Guevara, Martin
                             1572 N Broadway, Apt. C
                             Escondido, CA 92026

                             Guillen, Isaac
                             6929 Morningside Ave.
                             Riverside, CA 92504

                             Hernandez De Ruiz, Leticia

                             P.O. Box 13
                             Escondido, CA 92033
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 59 of 62




                             Holemo, Jeffrey
                             140 S Mercedes Rd.
                             Fallbrook, CA 92028

                             Holemo, Michael
                             1044 Jessica Lane
                             Escondido, CA 92027

                             Husted, Brian
                             852 Avenida Ricardo, Apt. 313
                             San Marcos, CA 92069

                             Infante, Leticia
                             2215 Medford Place
                             Escondido, CA 92027

                             Infante, Mario
                             2215 Medford Place
                             Escondido, CA 92027

                             John Deere Financial
                             P.o. Box 4450
                             Carol Stream, Il 60197

                             JS MCA Hunter Park Lp
                             c/o MCA Property Management Inc.
                             1600 Chicago Ave., Ste. R-1
                             Riverside, CA 92507

                             Patrick N. Keegan, Esq.
                             2292 Faraday Ave. Ste. 100
                             Carlsbad, CA 92009

                             Kieu, Loc
                             1150 Hoover Street
                             Escondido, CA 92027

                             Larson, Jared
                             308 Camino Calafia
                             San Marcos, CA 92069
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 60 of 62




                             Larson, Zachary
                             308 Camino Calafia
                             San Marcos, CA 92069

                             Lemus, Gonzalez
                             425 N. Hickory # B205
                             Escondido, CA 92025

                             Lemus Martinez, Juan
                             223 Hollenbeck Rd.
                             San Marcos, CA 92069

                             Lemus, Alfredo
                             2700 E. Valley Parkway # 286
                             Escondido, CA 92027

                             Lemuz Rosales, Armando

                             1530 E. El Norte Parkway # 44
                             Escondido, CA 92027

                             Lucio C, Maria
                             169 Avenida Chapala
                             San Marcos, CA 92069

                             Martinez, Ambriz
                             25838 Homeland Ave.
                             Homeland, CA 92548

                             Martinez Lemus, Jose
                             608 Richmar Ave. #12
                             San Marcos, CA 92069

                             Martinez, Cristobalito
                             451 Autumn Dr. # 5
                             San Marcos, CA 92069

                             Montesinos, Cecilia
                             4831 Claire Dr.
                             Oceanside, CA 92057
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 61 of 62




                             Nicholson, Jennifer
                             32088 Taliesin Way
                             Bonsall, CA 92003

                             N&B Enterprises, LLC
                             130 Valle De Oro
                             San Marcos, CA 92069

                             Nicholson, Michael
                             32088 Taliesin Way
                             Bonsall, CA 92003

                             Nicholson, Spencer
                             32088 Taliesin Way
                             Bonsall, CA 92003

                             Nicholson, Thomas
                             1075 La Reina Dr.
                             San Marcos, CA 92078

                             Ponce, Jacome
                             571 Larchwood Dr.
                             San Marcos, CA 92069

                             Raymundo, Armando
                             150 S. Rancho Santa Fe #77
                             San Marcos, CA 92078

                             Richards, Tim
                             999 S. Santa Fe Ave. # 88
                             San Jacinto, CA 92583

                             Roberts, Regina
                             250 Knoll Rd. # 101
                             San Marcos, CA 92069

                             Toyota Commercial Finance
                             P.O. Box 660926
                             Dallas, Tx 75266
Case 21-01804-CL11   Filed 04/30/21   Entered 04/30/21 16:08:53   Doc 1   Pg. 62 of 62




                             Toyota Financial Services
                             P.O. Box 5855
                             Carol Stream, Il 60197

                             U.S Small Business Administration
                             SBA Disaster Loan
                             1545 Hawkins Blvd., Ste. 202
                             El Paso, TX 79925

                             Vielma, Carmelo
                             1142 N. Broadway # 6
                             Escondido, CA 92026

                             Whitehurst, Marvin
                             520 Sandalwood Pl. # 14
                             Escondido, CA 92027

                             Williams, Arthur
                             1911 Bush St., C117
                             Oceanside, CA 92058
